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 8                          UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                              March 2022 Grand Jury

11   UNITED STATES OF AMERICA,               CR 20-600(A)-GW

12             Plaintiff,                    F I R S T
                                             S U P E R S E D I N G
13             v.                            I N D I C T M E N T
14   JERRY NEHL BOYLAN,                      [18 U.S.C. § 1115: Seaman’s
                                             Manslaughter]
15             Defendant.

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17

18        The Grand Jury charges:
19                                [18 U.S.C. § 1115]
20   A.   INTRODUCTORY ALLEGATIONS
21        At times relevant to this First Superseding Indictment:
22        1.   The passenger vessel (“P/V”) Conception was a 75-foot, wood
23   and fiberglass passenger vessel based out of Santa Barbara,
24   California.
25        2.   Defendant JERRY NEHL BOYLAN was the Captain and Master of
26   the P/V Conception and, as such, was responsible for the safety and
27   security of the vessel, its crew, and its passengers.
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 1        3.   In the early morning hours of September 2, 2019, in

 2   navigable waters near Santa Cruz Island in the Pacific Ocean, a fire

 3   broke out aboard the P/V Conception, claiming the lives of one

 4   crewmember and all 33 passengers onboard.

 5   B.   SEAMAN’S MANSLAUGHTER

 6        On or about September 2, 2019, in navigable waters near Santa
 7   Cruz Island in the Pacific Ocean, in Santa Barbara County, within the
 8   Central District of California and the admiralty jurisdiction of the
 9   United States, defendant JERRY NEHL BOYLAN, the Captain and Master
10   employed on the P/V Conception, by his misconduct, negligence, and
11   inattention to his duties on said vessel, including failing to have a
12   night watch or roving patrol as required by 46 C.F.R. § 185.410 and
13   the vessel’s United States Coast Guard Certificate of Inspection,
14   failing to conduct sufficient fire drills as required by 46 C.F.R. §
15   185.524, and failing to conduct sufficient crew training as required
16   by 46 C.F.R. § 185.420, caused the deaths of the following
17   individuals:
18                                Carol Diana Adamic
19                               Juha-Pekka Ahopelto
20                                Neal Gustav Baltz
21                             Patricia Ann Beitzinger
22        Vaidehi Devi Campbell, also known as Vaidehi Devi Williams
23                                Kendra Moore Chan
24                                Raymond Scott Chan
25                          Adrian Danielle Dahood-Fritz
26                            Sanjeeri Satish Deopujari
27                              Justin Carroll Dignam
28                                 Berenice Felipe
                                            2
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 1                                   Lisa Fiedler

 2                             Kristina Oline Finstad

 3                                Andrew Aaron Fritz

 4                                   Daniel Garcia

 5                                 Marybeth Guiney

 6                                    Yuko Hatano

 7                                Yulia Krashennaya

 8                              Alexandra Haley Kurtz

 9                                     Xiang Lin

10                            Charles Spencer McIlvain

11                          Caroline Annette McLaughlin

12                                 Kaustubh Nirmal

13                          Angela Rose Solano Quitasol

14                           EvanMichel Solano Quitasol

15                             Michael Storm Quitasol

16                          Nicole Storm Solano Quitasol

17                                Steven John Salika

18                            Tia Nicole Adamic Salika

19                                Sunil Singh Sandhu

20                                Fernisa June Sison

21                                Ted Stephen Strom

22   //

23   //

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25   //

26   //

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 1                              Kristian Marc Takvam

 2                                      Wei Tan

 3                                              A TRUE BILL
 4

 5
                                                       /S/
                                                Foreperson
 6

 7   STEPHANIE S. CHRISTENSEN
     Acting United States Attorney
 8

 9

10   SCOTT M. GARRINGER
     Assistant United States Attorney
11   Chief, Criminal Division

12   MARK A. WILLIAMS
     Assistant United States Attorney
13   Chief, Environmental & Community
     Safety Crimes Section
14
     JOSEPH O. JOHNS
15   Assistant United States Attorney
     Environmental & Community Safety
16   Crimes Section

17   MATTHEW W. O’BRIEN
     Assistant United States Attorney
18   Environmental & Community Safety
     Crimes Section
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